 Case: 17-10591-BAH Doc #: 70 Filed: 05/02/17 Desc: Main Document                         Page 1 of 4




                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF NEW HAMPSHIRE



In re:                                                          CHAPTER 11

Sanctuary Care, LLC, and                                        Case Number 17-10591
Sanctuary at Rye Operations, LLC,                               Case Number 17-10590
                                                                Joint Administration Motion
                                                                Pending
         Debtors



  ORDER (A) PROHIBITING UTILITY PROVIDERS FROM ALTERING, REFUSING
    OR DISCONTINUING SERVICE; B) DEEMING UTILITIES ADEQUATELY
                         ASSURED OF FUTURE
         PEFORMANCE; AND C) ESTABLISHING PROCEDURES FOR
           DETERMINING ADEQUATE ASSURANCE OF PAYMNENT

         This matter having come before the Court upon the Debtor’s Motion for an Order (A)

Prohibiting Utility Providers from Altering, Refusing or Discontinuing Service; B) Deeming

Utilities Adequately Assured of Future Performance; and C) Establishing Procedures for

Determining Adequate Assurance of Payment pursuant to sections 105(a) and 366 of title 11 of

the United States Code (the “Motion”); and having reviewed the Motion and all papers related

thereto; and it appearing that this Court has jurisdiction to consider the Motion pursuant to 28

U.S.C. §§ 157 and 1334; and it appearing that venue of this chapter 11 case and the Motion in

this district is proper pursuant to 28 U.S.C. § 157(b); and notice of the Motion and the hearing

thereon having been sufficient; and after due deliberation the Court having determined that the

relief requested in the Motion is in the best interests of the Debtor, its estate, and its creditors,

and good and sufficient cause having been shown,

                               IT IS HEREBY ORDERED THAT:
 Case: 17-10591-BAH Doc #: 70 Filed: 05/02/17 Desc: Main Document                       Page 2 of 4




       1.      The Motion is GRANTED in its entirety;

       2.      The Debtor shall pay all post-petition utility charges in accordance with its pre-

petition practices for post-petition utility services rendered by the utility providers to the Debtor.

       3.      The Debtor is deemed to have furnished the utility providers with adequate

assurance of payment for post-petition services by depositing $5,241.00 in the Utility Deposit

Account as defined in the Motion. This amount shall not be reduced by any amount presently

being held by a utility provider. Absent further order of this Court, the Debtor will maintain the

Utility Deposit Account with a minimum balance of $5,241.00 until the conclusion of this

Chapter 11 proceeding; provided that with respect to any Additional Utility Provider, such

account shall be increased in an amount equal to the estimated cost of two weeks’ of such

Additional Utility Provider’s services utilized by the Debtor, based on a yearly average;

provided, further, that any amount by which the Utility Deposit Account is increased with

respect to an Additional Utility Provider shall also increase the minimum balance to be

maintained under the Utility Deposit Account.

       4.      Absent any further order of this Court and except as set forth otherwise in this

Order, all Utility Providers are prohibited from:

               (a)     discontinuing, altering, or refusing service to the Debtor on account of the

       commencement of this Chapter 11 case or any unpaid pre-petition charges and;

               (b)     discriminating against the Debtor, or requiring payment of a security

       deposit or receipt of any other security from the Debtor for continued service, as a result

       of the Debtor’s bankruptcy filing or any outstanding pre-petition invoices.

       5.      If a utility provider is not satisfied with the assurance of future payment provided

by the Debtor, the utility provider must serve a written request (the “Request”) upon the Debtor.
 Case: 17-10591-BAH Doc #: 70 Filed: 05/02/17 Desc: Main Document                     Page 3 of 4




The procedures for determining Requests for additional assurance of payment as described in the

Motion are as follows:

               a.)     The utility provider must serve the Request upon the Debtor setting forth

the location(s) for which utility services are provided, the account number(s) for such location(s),

the outstanding balance for each account, a summary of the Debtor’s payment history on each

account, and an explanation of why the Utility Deposit is inadequate assurance of payment;

               b.)     The Request must be actually received by proposed Debtor’s counsel,

Peter N. Tamposi, Esq., 159 Main Street, Nashua, New Hampshire 03060 within twenty (20)

days of the date of entry of an order approving the Motion or, with respect to Additional Utility

Providers, within ten (10) days of the mailing of supplemental service (the “Request Deadline”);

               c.)     Without further order of the Court, the Debtor may enter into agreements

granting additional adequate assurance to a utility provider serving a timely Request, if the

debtor, in its discretion, determines that the Request is reasonable;

               d.)     If the Debtor believes that a Request is unreasonable, it shall, within ten

(10) days after the Request Deadline, seek a hearing pursuant to section 366(c)(2) of the

Bankruptcy Code (a “Determination Hearing”) for a determination by the Court that the Utility

Deposit, plus any additional consideration offered by the Debtor, constitutes adequate assurance

of payment. Pending the Determination Hearing, the utility provider that is the subject of the

unresolved Request may not alter, refuse, or discontinue services to the Debtor nor recover on or

setoff against a pre-petition deposit;

               e.)     If a utility provider fails to send a Request by the request deadline, such

utility provider will have waived its right to make a Request and will be deemed to have
 Case: 17-10591-BAH Doc #: 70 Filed: 05/02/17 Desc: Main Document                       Page 4 of 4




received, by virtue of the Utility Deposit, adequate assurance of payment in accordance with

section 366(c)(1)(A) of the Bankruptcy Code; and

               f.)     Based on the establishment of the Utility Deposit, a utility provider will be

deemed to have adequate assurance of payment unless and until a future order of this Court is

entered requiring further assurance of payment.

       6.      The Debtor is authorized, it its sole discretion, to amend the list of utility

providers attached as Exhibit A to the Motion to add or delete any utility provider.

       7.      Nothing in this Order or on Exhibit A constitutes a finding that any entity is or is

not a utility company for purposes of this Order or under section 366 of the Bankruptcy Code.

       8.      The Debtor is authorized and empowered to take all actions necessary to

implement the relief granted in this Order.

       9.      Notwithstanding the applicability of any bankruptcy rules, the terms and

conditions of this Order Shall be immediately effective and enforceable upon ist entry.

       10.     This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation and/or interpretation of this Order.



                May 02, 2017
       Dated: _________________ Manchester, New Hampshire.


                                        /s/ Bruce A. Harwood
                                       _______________________________________
                                       UNITED STATES BANKRUPTCY JUDGE
